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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF INDIANA
                                 FORT WAYNE DIVISION

 IN THE MATTER OF:                                   )
                                                     )             CASE NO. 20-11167
 STEVEN BOYD MITCHELL,                               )
                                                     )             Chapter 7
                    DEBTOR                           )

                    AGREED MOTION TO EXTEND TIME AND TO MODIFY
                         THE OCTOBER 19, 2020, AGREED ORDER

         Martin E. Seifert, Trustee, by counsel, and U.S. Bank National Association, not in its

individual capacity but solely as Trustee for the CIM TRUST 2018-NR1 Mortgage-Backed Notes,

Series 2018-NR1, by counsel (“Creditor”), file their Agreed Motion for Extension of Time and to

Modify the October 19, 2020, Agreed Order. As their Agreed Motion, the parties state as follows:

         1.       On September 4, 2020, Creditor filed its Motion for Relief from Stay and

Abandonment for Real Property [Docket 17].

         2.       On September 16, 2020, Trustee filed its Objection to Motion for Relief from Stay

[Docket 30].

         3.       In resolution of the Motion and Objection, the Court entered an Agreed Order of

October 19, 2020, granting the Trustee until May 1, 2021, to file a Motion to Sell the Real Estate.

         4.       Pursuant to paragraph 2 of the Agreed Order, the Trustee has the option to file a

motion for additional time in order to sell the real estate.

         5.       The parties agree that the Trustee shall have additional time until August 1, 2021,

to file his motion to sell the real estate in this matter. Trustee has been marketing the property and

has received a number of offers and is seeking the highest and best offer for the property.

         6.       Creditor and Trustee agree that the Agreed Order dated October 19, 2020, should

be modified to provide that the Trustee will have until August 1, 2021, to file a motion to sell the

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real estate and if he fails to do so, the Creditor shall be relived from the stay to proceed as requested

on the real estate commonly known as 6037 East 450 South, Wabash, Indiana 46992 and it shall

be abandoned from the bankruptcy estate.

         WHEREFORE, Creditor and Trustee request that the Court grant this extension of time

and enter an order modifying the October 19, 2020, Agreed Order granting the Trustee until

August 1, 2021, to file a motion to sell the real estate and, in the event the Trustee fails to do, the

Court shall grant Creditor’s motion and Creditor shall have relief from stay to proceed as requested

and the real estate commonly known as 6037 East 450 South, Wabash, Indiana 46992, shall be

abandoned from the bankruptcy estate.

HALLER & COLVIN, P.C.                                  LAW OFFICE OF GERALD M. SHAPIRO,
444 EAST MAIN STREET                                   LLP
FORT WAYNE, INDIANA 46802                              ATTORNEYS FOR CREDITOR
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BY: /s/ Martin E. Seifert                              BY: /s/ Brian K. Tekulve
    MARTIN E. SEIFERT, TRUSTEE                              BRIAN K. TEKULVE
    I.D. #16857-02                                     I.D. #30882­49


                                  CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and exact copy of the above and foregoing
Agreed Motion to Extend Time and Modify the October 19, 2020, Agreed Order has been sent
electronically by the Court’s electronic filing system, this ____         April
                                                             28th day of ________________, 2021,
to:

        Nancy J. Gargula, U.S. Trustee                   Sabrina J. Kitsos, Esq.
       100 East Wayne Street, 5th Floor                  GLASER & EBBS
       South Bend, IN 46601-2349                         132 E. Berry Street
       USTPRegion.10.SO.ECF@usdoj.gov                    Fort Wayne, Indiana 46802


                                                         /s/ Martin E. Seifert
                                                         MARTIN E. SEIFERT



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